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Rebtor 2 Bellaire General Hospital L.P. United States Courts
First Name Middie Name Last Name Southern District of Texas
FILED
Debtor 2
(Spouse, ff filing) First Name Middle Name Last Name MAY 1 5 2020

United States Bankruptcy Court for the:  _ Southern District of Texas David J, Bradley, Clerk of Court

Case Number: —05-30089-H3

APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

Amount: $1,397.34
Claimant’s Name: Dilks & Knopik, LLC as assignee to Chriscilda Stephens
Claimant's Current Mailing 35308 SE Center Street
Address, Telephone Number, Snoqualmie, WA 98065
and Email Address: 425-836-5728 x123
admin@dilksknopik.com

2. Applicant Information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply):

LJ Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of the
court.

X Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means.

L] Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).

LJ Applicant is a representative of the deceased Claimant's estate.
3. Supporting Documentation

Applicant has read Bankruptcy Local Rule 3011-1 and is providing the required supporting documentation with this
application.

L] Applicant is a representative of a deceased claimant’s estate and is providing documentation demonstrating
Applicant's authority to serve as the estate representative.

! The Claimant is the party entitled to the unclaimed funds.
2 The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3 The Owner of Record is the original payee.

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4. Notice to United States Attorney

Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney
Southern District of Texas
1000 Louisiana St., Suite 2300
Houston, TX 77002-5010

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date: May 8, 2020

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5. Co-Applicant Declaration (if applicable)

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date:

Signature Of Applicant
Brian J Dilks — Member
Dilks & Knopik, LLC

35308 SE Center Street
Snoqualmie, WA 98065
428-836-5728 x123

admin@dilksknopik.com

Signature of Co-Applicant (if applicable)

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

Email:

6. Notarization
STATE OF WASHINGTON

COUNTY OF KING

This Application for Unclaimed Funds, dated

May 8, 2020 was subscriped and sworn to before me this_
day of 4 , 2020 __ by

Brian J Dilks who signed above and is personally known

to me (or proved to me on the basis of satisfactory

evidence) to be the person whose name is subscribed to

the within instrument. WITNESS my hand and official seal.

[GE

6. Notarization
STATE OF

COUNTY OF

This Application for Unclaimed Funds, dated
was subscribed and sworn to before
me this day of , 20 by

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within

(SEAL) Notary Public: instrument. WITNESS my hand and official seal.
Matthew Zéttley
(SEAL) Notary Public
My commission expires: February 19, 2022
My commission expires:
Form 1340 Application for Payment of Unclaimed Funds Page 2

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CERTIFICATE OF SERVICE

In accordance with 28 U.S.C. § 2042, the undersigned hereby certifies that on
the date designated below, a true and correct copy of the foregoing application with all
required documentation was mailed to:

United States Attorney for Southern District of Texas
1000 Louisiana St., Suite 2300
Houston, TX 77002-5010

Names and addresses of all other parties served:

U.S. Trustee
515 Rusk Ave., Ste 3516
Houston, TX 77002

Debtors Attorney

Michael Leppert

711 Louisiana St Ste 3100
Houston, TX 77002

Original Claimant Prior Address

3503 Braewin Court
Houston, TX 77068

Date: May 8, 2020

Debtor

Bellaire General Hospital L.P.
5314 Dashwood

Houston, TX 77081

Trustee

Janet S Casciato-Northrup
1201 Louisiana 28th Floor
Houston, TX 77002

Original Claimant Current Address
P.O. Box 625
Porter, TX 77365

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Brian J Biks - Member
Dilks & Knopik, LLC
35308 SE Center Street
Snoqualmie, WA 98065

Certificate of Service for Application for Payment of Unclaimed Funds Page 3
